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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     STACEY MISTLER
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7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    ) Case No. 13-cr-165 TLN
11                                                )
                      Plaintiff,                  ) STIPULATION AND ORDER CONTINUING
12                                                ) STATUS CONFERENCE
            vs.                                   )
13                                                ) Date: May 21, 2015
     STACEY MISTLER,                              ) Time: 9:30 a.m.
14                                                ) Judge: Hon. Troy L. Nunley
                      Defendant.                  )
15                                                )
                                                  )
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             IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, Justin Lee on behalf of Olusere Olowoyeye, Assistant United States
18
     Attorney, attorney for Plaintiff, Heather E. Williams, Federal Defender, through Assistant
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     Federal Defender Matthew C. Bockmon, attorney for Stacey Mistler, agree to vacate the change
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     of plea date of March 19, 2015 and set it for May 21, 2015 at 9:30 a.m. for the following reason:
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             The reasons for the request are because government counsel is currently on leave until
22
     mid-April 2015 and defense counsel requires additional time to review the proposed plea
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     agreement with the defendant in preparation for her change of plea.
24
             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
25
     excluded of this order’s date through and including May 21, 2015; pursuant to 18 U.S.C. §3161
26
     (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based
27
     upon continuity of counsel and defense preparation.
28

      Stipulation to Continue Status Conference                            U.S. v. Mistler, et al., 13-cr-165 TLN
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1                                                 Respectfully submitted,
2    Dated: March 16, 2015                        HEATHER E. WILLIAMS
3                                                 Federal Defender

4                                                 /s/ Matthew C. Bockmon
                                                  MATTHEW C. BOCKMON
5                                                 Assistant Federal Defender
                                                  Attorney for Defendant
6                                                 STACEY MISTLER
7
     Dated: March 16, 2015                        BENJAMIN B. WAGNER
8                                                 United States Attorney

9                                                  /s/ Justin Lee for Olusere Olowoyeye
                                                  JUSTIN LEE
10
                                                  Assistant U.S. Attorney
11                                                Attorney for Plaintiff

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      Stipulation to Continue Status Conference                             U.S. v. Mistler, et al., 13-cr-165 TLN
       Case 2:13-cr-00165-TLN Document 94 Filed 03/16/15 Page 3 of 3


1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including May
9    21, 2015, shall be excluded from computation of time within which the trial of this case must be
10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv)
11   [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It is further
12   ordered the March 19, 2015 change of plea hearing shall be continued until May 21, 2015, at
13   9:30 a.m.
14   Dated: March 16, 2015
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16                                                         Troy L. Nunley
17
                                                           United States District Judge

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      Stipulation to Continue Status Conference                              U.S. v. Mistler, et al., 13-cr-165 TLN
